                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
              v.                                      :       CR. NO. 19-cr-093 (EGS)
                                                      :
JOHN VICTOR REED,                                     :
                                                      :
                   Defendant.                         :


                   NOTICE OF LETTER AND DOCUMENTS PROVIDED
                              TO DEFENSE COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby gives notice that on July 3, 2019, the United States gave to counsel

of record in the above-captioned case via Federal Express, the attached letter together with the

referenced documents.

                                                      Respectfully submitted,


                                                      JESSIE K. LIU
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar No. 472845

                                              By:             /s/
                                                      MERVIN A. BOURNE, JR.
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                                                      Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       On this 3rd day of July, 2019, a copy of the foregoing was served upon defense counsel via

the Electronic Case Filing (ECF) System.



                                                           /s/
                                                   MERVIN A. BOURNE, JR.
                                                   Assistant United States Attorney




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